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                                                       '.~


                                                                                                                        ''-'~~ 11-'/)1                                 1--vrl/;'l
                                                          SUMMONS
                  (errACtoN JUDICIAL)
NOTice TO DEFENDANT:
fA VIsa At. DEMANDAQO);                                                                                                   l\1 ~W; 20 M~ ft: ~I
 BANK OF AM.ERICA, EQIUFAX                                                                                                        ! . ""
                                                                                                                                      • _... ~

                                                                                                                          :;r.\~ l\'~'," '.') t~
                                                                                                                                                 'II   ••••



                                                                                                                                                                  '.    1\
YOU ARE BEING SUED BY PLAINTIFF:
(LO EsrA DEMANDANDO'EL OEMANDANTE):
 CAROL BRENNAN

 NOTICifvou hlMl beii\siiOd:-TIiG CDI.IIt m.y didde aO'.iriStYoUWktiOUt your beIntJ ~1.iilICSo you ~ ~-:IO dDJW:R,.flhilillOrinaUQI1
 below,
    You NYG 30 CALENDAR DAYS .... 1hi1l1lUlmlOl\f and Ievll p8pen are I8MId on you to file a wrftton reapon!I8 at Itis c:oun and !'lave • ~
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The name and addnlaS'of tt'le court 111:                                                      .                           c:ASE N\IMIER.
                      COUNTY OF SAN oroGO
(Et nombre y dinKx:i6n de la aotfe fIB):                                                                                  ~f.2a'f.i..oO' 02.·,a..c~.po.crL
SAN DIEGO COUNTY SUPERIOR COURT
330 WEST BROADWAY SANDIBGO CA. 92103
The name. addreu. and telephone number of plalntifl'S ettomey. or plaintiff without an attomey. is;
(EI 1IOmbre, IfI dreccioo y " ,,(lmGtO de trI~tbno de/abogado del demandsnte, 0 del demand.nte quit no liene .bogodo••$):
RAYMOND M. VECCHiO ~340 DEL SOL BLVD #181 SAN DIEGO CA. 92154
DATE:
(Fechs)
            8-20-12                      I"~"
                                         JI
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     proof Of /t8MQfI or rnl6 aummon,. UIVPfIOf or ::5erVIoe Of ljummont (1CmI PO:i-Q1l)JJ
(Para pt'tIfIba do entnlga de 88 citation use eI fomwIario Proof of ServIce of Summon$. (POU10)).
                                  NOTlCE TO THE PeRSON SERV!D: You are served
 )SEAL1                          1. D 88 an Individual defendant.
                                 2. D as the person sued under the fictitious name of (SPecify):

                                                  3.   ~ ~ bohalf of (lJpoolfy,;6o.1" \<....            a~ f\ ~a.
                                                       under. r.:s;o. CCP 416.10 (O?rpoI8tion)                            \D          CCP 416.60 (minor)
                                                            D CCP~16.20 (defUnCt corporation)     CJ                                  COP 418.70 (conaervatee)
                                                    , .: 0 CCP·418.40 (assocledon or partnership) c:J                                 CCP 418.90 (euthorb:ed petSOtl1
                                                            D .other (sptJdfy):                                                                                                             .,:"
                                                  4. c:::J by personal delIVery on (date):
                                                                                                                                                                               _u"
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                                                                                                                                                         c.-fIICMI~H-41UO...
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              Raymond M, Vecchio SBN 86657 

        :). f I                                                                       i.,'\!!!nliJ.,t ,'A-'}I\)ti
              ATTORNEY AT LAW 

      :2 	 "3340 Del Sol Blvd #181                                            W~t AUG 20 ~M II! 41 

              San Dieg~~alifomia 92154 

      3 II 619-298-c)1J".!70 (:&!J) 

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      Ei
                                SUPERIOR COURT OF CALIFORNIA, COUNTY. OF SAN DIEGO 

      7
                                              CENTRAL DMSlON


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  10       II CAROL BRENNAN.                                       Case No.: 37-2012.o010211g..qO.p().CTL ' 

  11                             Plaintiff, 
                      COlvrPLAlNT AND REQUEST FOR
  12
                                                                   P.lJNITIVE DAMAGES
                       vs. 

  13 II BANK            OF AMERICA, EQM'AX, AND 



. __::_11 DOES 1~~~~-Defendant8;- ..                    -   ._-l
  :: IINOW COMES CAROL BRENNAN WHO ALLEGES AS FOLLOWS:
  18                                               'IBST ChIlO OF ACTION
  u                                                  l'JQLAJION OF THE 

  20 

                   FgR CREDIT REPORTING ACT; FAIR DEBT COLLECTION PRACTICES ACT 

  21 

                  1. At all times herein mentioned Carol Brennan (Plaintiff) was and is a resident of San Dieg
  Z2

  :23      11 County,
  24              2. At all times herein DefeDdants EQUlFAX and BANK of AMERICA were Corporati~ns dul 


  25       II organized under the State of their incorporation and doing business in the Stale ofCalifomia. 

  26
                  3. Plaintiff is uuawaro Df the identities of Defendant herein named as Doesl·l00. Wbe 

  21 ..                                                             ' . . .                                                       

  ze I"plai~tiff'dl$covers ~e true ~cs of those Defendarit~ ~he will amend this compltLint when the. 

                                                                                                                                                    !.

             .true nomes are rev~aled' to her. 


                                                    COMPLAINT rQR DAMAGES- 1 


                                                                                                                                                             ..,
                               9t£000as19t :01              1999t8L619 ~ ONOWA~ 3OI~O ~,:~                                                       tt:L0 atee-t2-~
  at"S'd
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         1           4. Pla.intiff brings this action based upon on the actions of known flIld unknown Defendan

         2 ••       who Plaintiff claims a~ted in concert with one another to have violated the FAIR CRED
         3
                    REPORTING ACT (hereinafter known             QS   FeRA) codified at 15 US.C. S 1681 et seq.) and   0
         4

         5     lithe FAIR DEBT COLLECTION PRACTICES ACT (hereinafter known as FOCA), lSU.S.C
         (;         Sec::. 1692.
         7
                      S. Bank of America is a lender of money and an entity who, regularly alld in the course o.
         8
                    business, furnishes iruonnation to one or more consumer reporting agencies about i·
         9
                    transactions or experiences with consumers or borrowers and therefore constitutes 11 "tumisber

        :: II or disseminator· of consumer infonnation as codified at                 15 U.S.C.&1681s-2, and is thereforl

        12          subject to the laws as set forth in the FCRA.. 

        13 

                     6. When loans become dolinqucnt Bonk of America engages in the endeavor to recover                0
        14
                    collect delinquent loans and therefore is subject to the la'."s QS set forth in the FDCPA, iE1cludin~I_ __
----'ll·~-H·-                                                           -                     -­
        16     II   (but not limited to) 1692e(8); 1692e(lO); 169le(1l); 1692(f)j and 1692f(1).

        11           7. Bank or America aad Equtru violated the FDCPA in tbat:

        19            a Bank of America notified Plaintitfthat a loan they had taken out was deUnquent.
        19             b. After being notified of this indebtedness by Bank of Amcric~ Plaintiff notified Bank 0
        20     I.1.America that the Plaintiff had DO such indebtedness to Bank of America.. Despite knowing this
        21
                    Bank of America began 11 lengthy and proJonged course of conduc~ and harassment against tb.i
        22

        .23         .Plaintiffwhich included threats of legal action, constant abusive and prolonged telephone calls

        Z4          and written harassment by mail. All of these actions were Wldertakcn by Bank of America in
        21:1 II                                              . . '
                    effort to collect a non-existent debt agaInst this elderly Plaintiff.
        2'6
                          These actions by Bank of America were an egregious Invasion ofPrivQcy and an intrusio
        27                                                   t                    •

                    on iliesccluSlon ofthls Plaintifiwhich resulted in the extreme streSs. angUiSh, fear, nervousness
       . 29'



                                                          COMPLAINT FOR DAHAGES- 2


                                                                                                                             ID
                                                                      199818L619 n ~~ 3JI~D ~:~                  1£:L0 a1aa-la-~~
        Bt ... al"d                9tt:009c:!619t:D!
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                                                                                        '''---'




          1     anticipation, and thrCirt of harm to her financial and physical well being. all causing "acto
          2
                damages to the Plaintiff.
          :3
                  c. The aforementioned collection efforts of Bank of America continued even after bein
          •
          5
                notified of the falsity of their claim by independent counsel retained by the Plaintiff. Despite th

          6     knowledge that the Plaintiff was represented by       ~o\U1Sel   and the instructions not to have an'

          1
                contact with the Plaintiff, Defendant Bank of America continued to contact Plaintiff personall
          B
                in an effort to collect a debt which Plaintiff never intUITCd.
          !J
                  d, Bank of America refused to provide written proof of the indebtedness to either the Plaint!
         10

         11 
   or their counsel after repeated demands for such infon:nation.
         1% 
     c. Bank of America wron¥fuJ.ly and malh:iously, despitel:cnowina that Plaintiff owed no deb
         13     to Bank of America reported to Equifax and othel' Credit agencies and Does 1-20 that th,
         14

_ _ _ .. 15.
                Plaintiff was delinquent in their payment   of this nonexistent debt.
                                                           ._----_.
                  f; Bank of America eventually reported to Equifax that the debt was charged off and that til
         16

         17 
 debtor Carol    Brennan was dgceased.     (See Ex-I).

         1& 
     g, A recent check of the plaintiff's credit report shows the erroneous and
                                                                                                                            4
         19     indebtedness, delinquent payment. and charge off' and that the Plaintiff is deceased.
         20
                  8.) Defendant Equifa.x meets the definition of a consumer reporting agency in section 603(f) 0
         21
                the FRCA is liable and responsible even if the only information it collects, mamtains, an
         22 


         23 
   disseminate! is obtained from public record" sources.
         24       9.) Defendant EQUIFAX and Defendant aANT<. OF AMERICA have violated the FeRA .
         2S
                their. willful and negligent violations of their responsibilities to reasonably report on Plaintifr
         ZG
                .credit report and investigate Plaintifrs disputes in their credit report.
         27 "         "


         28 




                                                      COMPLAINT FOR DAMAGES ... 3


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Case 3:12-cv-02317-W-WVG Document 1-1 Filed 09/24/12 PageID.10 Page 6 of 19
                                "-.-.~                                         ,_../




   1
          10.) All Defendants have repeatedly violated California state law which has proximately calIS
   2
         Plaintiff's damages.
   3                                           .                                                               ,

             J1.) Plaintiff has suffered actual damages as a result a result of these illegal actions b
   4

   s     Defendants in the form of anger, anxiety, emotional distress, fear, frustration, upset hwniliation.
   Iii   embarrassment, amongst other negative emotions, as well as suffering from abusive invasion                0


   1

         personal privacy. Plaintiff has also suffered physical harm as a result of the defendants' action
   8

         in the form of high blood pressure hives and other physical ailments. 

   9

 10 

                                            SECOND CAUSE OF ACnO~

 11                         VIOLATION OF THE FAIR CREDIT ;REPORTING ACf


 12           12.) Plaintiff Carol Brennan herein re-aJleges each and every paragraph ofhet for complaint 

 13 

         and hereby mcorponites those allegations by reference.
 14 

             13.) Carol Brennan is a rcddenl of San Diego County, California (hereinafter Plalntiff) 


 ::-IrPlaintifi'iS 1 consumer as defined by (FeRA) 1681 (a).

 17          14.) Defendant Equifax and Docs 1-20 arc persons as defined by F'CRA 1681(a) and

 18      consumer reporting agency as def1ned by FCRA 16811 (t) and Sections 603 (f). Equifax an, 

 u

         Does 1-20 are authorized to do business in the State of C8.lifornIa; with its principle place             0
 20
         business in the State of Oeorgia. 

 :u 

 22
         1S.). The FCRA Sec. 603(f) defines a. conswner reporting o.gency (eRA) as any pct:Son which

 23      for monetary fees,   du~    or not on 1 coopemtive nonprofit basis, regularly engages in whole or . 

 24 
    part in the practice of assembling or evaluating credit infonnatioD   Of   other information ... (or th 

 25 

         purposes of furnishing consumer· reports to l'tbird' parties", and the selling of lists contain in 

 26 

         personal and financial consumer infonnation to third parties for .marketing purposes           £01'   profi 

 27 II
         sinQc JanUlU')'
                                              .
                           1, . 1987-May 2008. In tum, Sec 603(d) defines "consumer report" as
                                                                                               •

 29


                                               COMPLAINT FOR OAHAG£$- 4


                                                                                                                         t"'L


81 I'Zl" d            91£009Z6l9l:01                   199818L619   n aNOWA~    3OI~ ~':WO~             1£:L0 Zl02-~-~
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         1        communicatiol'l of "any information" by a      eRA that bears on a consumers credit worthiness.,
         2
                  credit r'citlng • credit capacity, character. general ceputation, personal characteristics" or mode   0

         3

                  living that is used or expected to be collected in whole or in Part. for the purpose of serving as
         ..
         s factor in establishing eligibility for credit or insurance to be used primadly for personal, famll
         I>       or household purposes, employment purposcs, or any other          pUrpOll"   authorized under Scotio 

         7

                  (604).
         8
         ,        16.) Equifax and BANK OF America Does 1-10 violated the FCRA in that;

                      a. Equifax continues to add stote, maintain and disseminate personal credit information, •
       10

       11         consumer reports it prepares and issues about Plaintiff which is false, inaccurate, erroneous
       1.2        misleading, advcrsc~ and has allegedly participated in 5elling lists contaio.ing 

       13 

                  fioanciaJ consumer infonnation to third parties for marketing purposes fOf profit.
       14
                      b. Plaintiff roquested from Defendant Equifax that the account be d(:Ieted from Plaintiff"
_........15__ 

                  credit report, as Plaintiff did not own it. Despite notice from the Plaintiff that sllch information i
       16 


       17 
       false and maccu.rate the delinquent QCCount remains on the credit report (Seo EX-2). 


       18 
          c. Equifax and Does 1-20 failed to conduct a reasonable investigation of the Plaintiff'
       19
                  dispute despite being notified of the debts tbJsity and has otherwise failed to comporl with Fe
       20 

                  J681 (i). Had they done so the delinquent account would have been deleted. 

       21 

                      d. Equifax was provided with more than sufficient information in the disputes and in the
       22

       23 
 own internal sources of information to conduct an investi gation and to conclude that the accoun:

       24 
 complained of was being reported incorrectly.
       Z5
                      e. Equifwt has _previously proclaimed that it is obligated to reiy upon whatever the pubH 

       26 

                  records state about a consumer and have failed to adopt reasonable ·procedures to 
 assu:
       27 " 
       •                                                      •
       '28 IIQla."~llm ,required accuracy of Plaintiffs consumer· credit and other' personal information 




                                                       COMPLAINT FOR OAMAGE!- 5


                                                                                                                             1'3'
                      ,   .                                     19981BL619 ~ ONOWA~ 3OI~~O ~1:~                a£:L0 alaa-la-sn~
      81 ..£:l'd               91£:009a6191:01
 Case 3:12-cv-02317-W-WVG Document 1-1 Filed 09/24/12 PageID.12 Page 8 of 19
                                                                                ,,---,'




    1    required by the FRCA. This extremely important information which is
    2
         manipll:lated in order to prepare credit reports. credit scores, risk factors, denial codes and othe
    3
         economic data evaluation has      B   profound effect on the lives of consumers. Such was the cas
    4

    5
         with this Plaintiff.

    6         £ Despite its stated policy and obligations under the law, Defendant Equifax has completel"
    7    abdicated its obligations under federal and state law and has chosen to merely uparrot" whateve
    8
         their customer, (B of A) has told them to say. Equifax has a pollcy to favor the paying customer
    9
         rather than what the customer or the public record says about a debtor or debt.
  10

  11     17.) Bank of America and Equifax and does 1-20 have explicit and illicit reasons for keepin

  12     suoh false information on credit reports tho)' are:
  13
              a. Bank of America of credit information. and debt collectors such as defendant Bank             0

  14
         America, ptovide enonnous :financial rewards to Defendants Equifax and does 1-20.
__is..
              b. The Defendants' tmderstand that the importance of keeping false information on crem
  16

  17     reports is ane of the most powerful methods "furnishers" and debt CQUectors have: to           fOf!


  18 -II consumers    to pay debts whether they are owed or not.
  u           c. Bank of America has a policy and procedure to refuse to properly update credit reports        0
  20
         c;onsumers, who do not owe an alleged debt. Such is the case with this Pla.i.O.tiff.
  21
              d. The reason is to intentionally keep false infannatioll OD the credit report,
   22'

   23         e. Bank of Ameri(:a, bas promised thru its subscriber agreements or contracts to accuratel

   24    update accounts but defendant Bank of America bas maliciously, recklessly. wantonly, and 10.
   25
         negligently .fa.Ue~ to follow this requirement as well as the requiJ;ements sel forth under th,
   26
         f'CRA. FDCPA, and State Law which bas resulted in the intended consequences of. this faJs
   27
         information rcma.i!,~ng ~n this.Plaiftt~ credit repo~.
   28



                                                COMPLAINT FOR DAMAGES- 6


                                                                                                                   IV
                        91£009a6191:01                  19951SL619 n aNOWA~ 3JI~~ ~':WO~            2£:L0 a10a-12-en~
  81;'i71'd
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                                                                               '~




   1
              r. Bank of America assum~d a duty, through, the subscribers' agreement and other actions, tl
   2 ."   report accurately the infonnation contained in "its reports Olld this duty was breached in
   3
          negligent, wanton, reClkicss, willful intentional and or malicious manner.
   4

  ,5          g. Plaintiff is infonned and believes and hereupon alleges that Bank of America has a polio 


   Ii     to "park" its accounts on at least one of the conswner'J credit report. "Parking" is a term in th 

   7
          industry for keeping a false account on the credit report so that the consumer will be forced t, 

   8
          pay mOtley in order to obtain a. re:finnnoing or to qualify for a loan or to increase the consumer' 

   II
          C'Ced.it score from the artificially lowered credit score which directly resulted from the Equifax'" 

 10

 11       and Bank of America's intentional and malicious conduct. 


 12           h. In parkins or allowing the parking of an account, these Defendants know they are violatf 

 13
          their obligations and duties tmder the federal and state Law to accurately report the account. 

 14
              i. Defendants and ea.ch of them know or with exercise of reasonable care should have known 

 15
          that parking a false account will lead to false and defamatory information being published ev 

 16

 17       time the Plaintiff's credit is assessed. This is the malicious and intentional design behind th 


 18     Defendants actions with the goal to force the PJaintiffto pay on an account the Plaintiff does       DO 


 19
        owe. 

 20
           J. Defendants Bank of America and Equifax maliciously,         willfully, intentionally, recklessly
 21

 22
        and or negligently failed to review the information provided in the disputes or the informatio

 23 I fthat    was already available in their fiies. Furthennore, they failed to Conduct a reasonabl
 24     investigation of Plaintiff's disputes. As a direct resul1, Defendnnl<; Bank ofAmerica 

 25
        und    Equ~ax     faJled to delete information found to be inaccurate, and tailing to replace t 

 26
        inaccurate infonnation with accurate information, and/or reinserting the information withol!' 

 27
 29     following the dietates of the FCRA. 



                                              COMPLAINT fOR DAMAOts- 7


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       1
              k. At all times relevant tlmes the defendant Equifax failed to maintai.n and failed to follo
       2
            reasonable procedUres to assure maximum po~sibte accuracy of the p.1aintiff's credit report
       3
            violating 15 U.S.C. &1681c (b) and state law.
   4

   5          1. Defendant Bank of America failed to properly maintain and failed to follow reasonabl
   6       IlprocedUfes to assure maximum possible accuracy of Plaintiff's credit jnformation and c.redi
   "/
            report, tb\lS violating State Law and the FDCPA as set forth In this Complaint. These violation
   9
            occurred before. during, and after the dispute process began with the consumer rcportin
   II
            agencies.
  10

 11                                          ImRD CAUSE OF ACTION
  12                                           myASJON OF PRIVACY
 13
            18.) Plaintfffincorporates by reference all the paragraphs of this complain as fully stated herein.
 14
            19.) California law recognizes plo.ic.tiff's right to be free front invasIon of privacy and Defendant
 1~1'1
 16
                                             _
            Bank of America violated California law as described in this complaint.

 l'         20). Congress explicitly recogni".ed a consumer's inherent right to privacy in collootion matters

 19         and passing the FAIR DEBT COLLECTION PRACTICES ACT, when it stated:" Abusive debt
 19
            collection practices contribute to the Dumber of personal bankruptcies, tu marital
 20
           instability, to los8 ofJobs) and to the InvosloD of indIvidual privacy." 15 U.S.C.& 1692(a).
 Zl

 22
           21). Congress further recognized a consumer' 5 right to privacy in financial data in passing the

 23         Gramm Leech BlUey Ad. which regulates the privacy of consumer financiB1 data for a broad
 24        range of"financial institutions" including deb! collectors (albeit with a private right ofac:tion),
 2!!
           when it stateq as part oiits purpose: "It is the policy of this Congr~i5 that eacb financial
 26
           iDstitution has an .affirmative and continuing obligation to raped the privacy of its
 27
 28



                                               COMPLAINT FOR DAKAGtS- 8

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                                                                                   '''-~




   1
      customers and to proted the security and confidentiality of those customers' Donpublic
   2

           personal information." 15 U.S.C.& 6801(2\)
   :3
           22.) Defendants and each of them and or their agents intentionally, recklessly. and Ot negligently
   -4

   5
      interfered physically or otherwise, with the solitude, seclusion. and or private concerns or affairs

   6,     II of the Plaintiff, namely. by repeatedly and l.Ullawfully attempting to collect a debt and thereby 

   7

           invaded Plaintiff's privacy.
   8

           23,) Defendants and each ofthem and or their agents intentiono.lly. recklessly. and or negligently
   9

           caused emotional and physical harm to Plaintlffby engaging In highJy offensive condu~t in the
  10 


  11 
     course ofcoJlecting this debt, thereby invading and intnlding on the Plaintiff's right to privacy.
  12 
     24.) Plaintlffhnd a reasonable expec:tation ofpriVl'lcy in Plaintiff's solitude, seclusion, private 

  13 

           concerns or a.ffitirs, and private financial information, The defendants' conduct resulted in
  14 

           mUltiple intrusions and invasions of privacy by Defendants which occurred in a way mat would
.. 1$
           be highly offensive to a reasonable person in that position.
  16 


  17 
 25.) As a result of all ofthe      in1:ru$ioDS and invasions ofprivocy, Plaintiff is entitled to actual

  18 
     damages in an amount to be detcnnined at trial from Defendants.
  19 

           ~6.) Defendants and each of them and      Ot' their agents   and/or employees were committed with
  20 

           malice, intent, and or recklessness and as such Defendants are subjeot to punitive damages.
  21 

                                             Fouaw CAUSE OF ACTION
  22 


  23 
        lNTENTIONAL AND NEGLIGENT SUPERYISION OF INCOMPETENT AGENTS
                          ",


  24 
      27.) Plaintiffinc:orporates by reference aU the pataifaphs ofthis c:oDiplaint as fully stated herein.
  25 II 

           28.) Defendants and each of them are aUowed and encouraged to break the law in order to collec
  26 

           debts,
  27 


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                                                 COMPLAI~T    FOR DAHAGES- 9 


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                                                                                   '~'

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         1    11 290) Defendants and each of them arc aware 'oftbe wrongful conduct ofits agents. I1.Ild knows
         2      and approves of its incompetent employees who are involved in credit reporting and collections.
         3
                30.) Defendants aDd each ofthem negligently and intentionally hired trained. retained or
         ..
         .5     supervised debt collectors who were allowed or encouraged to violaic the law. D~endants are

         ,;     thereby responsible 10 the plaintiff for the wrongs committed against plaintiff by the

         7      aforementioned employees and the damages suffered by the Plaintiff for such conduct
         8
         ,                                       FlFl"B CAYSE OF ACTION

                                                    PUNITIVE DAMAGES
        10
        11 II 31.) Defendants   and each ofthem jncluding dc:fcndants known and uoknown and thmefore
        12 II   named as Doe Defendants acted with mBlice, wantolUl~S. recklessness, and or Intentional

        :: II conduct in their dea1iDgs with the and about Plaintiffas set forth in this complaint entitling, this
                Plaimiffto an award ofPunitive damages as the jury mAy see fit at the time of trial.
- - -...."5-11-,-­

        16
        17    II WHEREFORE, pla1ntiff prays thal: she be awarded a judgment against these dcfC.Ddants and
        18      each oftbem as fonoWS':
        19      As to all causeS of 8*n all statutOl'Y damages allowable by law, actual. and compensaWry
        20
                damages, punitivo damages, and all co~ and Attorney fees associated with thiJ lawsuit as the
      , 21
        22 •• court sees fit

        23

        24      DATE: ~ ... J.D "/1­
                                                                              ~/lt.JI~i
        2S                                                                   Raymond M. Vecchio
        26                                                                   Attorney for Plaintiff
                                                                             CAROL BRENNAN ,
         27

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if


                                          SUPERIOR, COURT OF CALIFORNIA, COUNTY OF SAN DIEGO 



                                               ALTERNATIVE DISPUTE RESOLUTION (AOR) INFORMATION 



        CASE NUMBER! 37-20'2.00102619.CU.Po-CTL                      CASE TITLE: Brennan vs. Bank of Amenca


        NOIlCE: An plalntlffs/cros5-c:omplalnlnts In a general civil c:ase are requIred to "rve a copy of the folloWing 

        three forma on each detondanflcro8s-<letendant, together with the cornplalntlcross.complalnt: 

                       (1) this Allemstlve Dispute Resolution (ADR) Information form (SDSC form #CIV.730).
                       (2) the StIpUlation to Ule Alternatlve Dispute ResolUtion (ADRl 'onn (SeSC fonn ICIV-359J, and
                       (3) the NaUce of Case Assignment form (SDSe fonn #CIV-721).

        Most civil disputes; are resolved without tiling a lawsuit, and most clvlllaw5uits are resolved without a tIlai. ·The courts,
        community organizations, and private providers offer a variety of Alternative ~ispute Resolution (AOR) processes to help
        people resolve disputes wllhout a trial. The San Diego Superior Court expects that litigants will utilIZe some form of AOR
        as a mechanism for case se"lement before trIal, and It may be benefielal to do this earty in the oese.

       Selow Is some Information about the potential advantages and disadvantages of AOR, the most common types of AOR.
       and how to find a local ADR program or neutral. A form for agreeing to use AOR is attached (SOSe form #CIV-359).

       potentl,1 Mvaatiges and Dlli!ilyanta9l1RfAOR
       ACR may have a variety of advantages or disadvantages over a lrial, depending on the type of AOR prace" used and the
       particular esse:

                   Potential Advantages                               Potential Disadvantage,
                    , Saves time                                      • May take more time and money If AOR does not
                  .--, Saves money'                                     resolve the dispute- -­
                   • Gives parties more control over the dispute      • Procedures to learn about the other side's case (discovery),
                     resolutIon process and outcome                     Jury trtal, appeal, and other court protections may be limited
                       PreselVes or Improves relationships              or unavaUable


       MOlt Common lYpvs of ADR
       You can read more information about thQSQ ADR processes and walch videos that demonstrate them on the oourt's AOR
       webpaga at htlp:I/www••dcpurt.ca.goyJagr.

       Mediation: A neutral person called a "mediator" helps the parties communicate in an effective and constructive manner 

       so they can lry to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so. 

       Mediation Is usually oonfidential, and may be pat1icularly useful when parties w3nt or need to have an ongoing 

       relationship, such as In disputes batween family members. neighbors, co-workers, or business partnel"B, or when partlaa 

       want to discuse non*legal concerns or oreatlve resolutioM that could not bo ordored ot ;) trlol. 


       Sottlement Conference: A judge or another neutrel perlon 08l1ed a -settlement officer' helps the partialS to undorstand
       the strengths and weaknes8es of their case and to dlscuse settlement. The Judge or settlement officer does not mako 0
       dec:i$lon In the C8$e but helps the partlee to negotiate. settlement. $ottlement conferences may be partlculariy helpful
       when the parties have very different ideas about Ihe likely outcome of a trial and would like an e)(perlenced neutral to help
       guide them toward 8 resolution.

        Arbitration: A neutral penwn called an -arbitrator- QQnslder5 argument. and evidence. presented by each ,Ide and then
        decides ttle 9\1toome of the dispute. Arbitration Is less formal than a trial, .and tho tulee of evldenoe are usually relaxed. If
        the parties agree to binding arbltrGtion, they waive thllir right to • IrIsl 8!'1d agree to accept the arbltratpr's dec;I~lon 8$ final.
      . With' nonbinding arbltraUon, any party may rejeat the arbitrator', dec:isitJn and request a trial. Arbitration may be
       appropl1ate when the panle. want another person to declde the ouloome or lhelr dispute but would like to avoid the
       fomlality, time. and expense or a trial.


       SDSC (;IV·l;JO I~ 12-19)           ALTeRNATive DISPUTE RESOLUTION (ADR) INFORMATION                                               .... , 

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             Other ADR Procosses: There are sel/eral other types of ADR which are not offerod through the court but whl(lh may be
             obtained privately, Including neutral evaluation. conciliation, faet flndlng. mlnl.trlals, and IUMmIl/'Y Jury trial8. Sometl~1
             parties will try a c:ombinatlon of ADR processes. The Importantlhlng is to try to find the type or typas of AOR that are
             most Hkely to resolve your dispute. Be $ure to learn about the rulos of any AOR' progrem and the qualifications of any
             neutral you are considering. snd about their fees.

             Ls:u::al APR program! for Civil Cases
             MedIation: The San Diego Superior Cqurt maintains a Civil Mediation Panel of approved mediators who have met
             certain minimum qualifications and have agreed to charge $150 per hour for each of the flrst two (2) hours of mediation
             and their regular hourly rate thereafter in court-referred mediations.

             Qn~lne  mediator searell acd "Iectlon; Go to !he court's AOR webpage at w)yw.sdcoyd.c;.a.govladr 81'\d click on the
            "Mediator Search w to review Individual mediator proliles containing detailed IntonnaUon about each mediator including
            their dispute resolution trelnln;. relevant experience. AOR speclalty, edUCllllon and employment history. mediation style,
            and fees Bnd to submit an on-lina Mediator Selection Form (SDSC form ilCIV-OOS). The Civil Mediation Panel Ust, the
            Available Mediator Ust, individual Mediator Proflles, and Mediator Selection Form (CIV·OO5) can slso be printed from the
            court's AOR webpage and are available at the Mediation Program Office or Civil Business Office at each court loc:atlcn.
             Settlement Conferenco: The Judga may order your case to a mandatory settlement c:onference. or voluntary settlement
           . conferences may be requested from the court If the parties certll'y that: (1) settlement negotiations between the partie'
             have been pursued. demands and offers have been tendered In good faith. and resolution has failed; (2) a Judicially
             supervised settlement conference presents Q sub6tanUai opport\lnlty for settlement; and (3) the OiIGe haa devoloped to a
             point where all parties are legally Qnd factually prepared to prosent the III$U8111 for settlement consideration and further
             dllcovery for settlement purposes Is nol required. Refer to SDSC Local Rule W. for more Information. To schedule I!I
             sottlomont conferenco. contact tho dl!lpartmcnt to which your caso Is Qs&lgnod.

          Arbitration: The San Diego Superior Court maintains a panel of approved Judicial arbitrators who have practiced law for
          iii minimum of five years and who have 8 certain amounl of trial and/or arbltraUon 8)Q:)erlence. REder to SDSC Local
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          45().7300·ror more Inrormatlon.

            Mom jnfoanaHgp about cgurt-;coQnected A06: Vlalt the court's ADR webpage at rom,sdcourtoa'Qoy/adr or contact the
            court's Medl8tlonlArbltratlon Office at (619) 45()..7300.

            Dispute Resolution Programs A~ (DRPA) fUnded ADR Programs: The followtng community dispute reaolut1on
            programs are funded under DRPA (Bus. and PrOf. Code §§ 460 et seq.):
                       In Central, Eest, and South San Olego County, c:ontact the National Conflict Resolution Cen1er (NeRC) at
                       WM\I,ocrconllns,£9m or (619) 238-2400.
                       In NOrth San clego County, contact North County Ufellne, Inc. at W,;'/OY.Qc!iftIlOII.!)Ql or (760) 726-4900.

            Privati ACR: To lind a privete AOR program or neutral. search the Intemet, your local telephone or business directory,
            or legal newspaper for dispute resolution, mediation, settlement. or arbitration Jarvlces.

            !",gal Representation and Advlc!
            To participate effectively In AOR, It Is generally "mportant to Understand your legal rights and responslbliltles and the
            likely outcomes If you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the particIpants In
            the ADR process. Jf you do not already have an attorney, the Califomla State Bar or your local County Bar Association
            cenesslst you in finding an attorney. Inronnatlon about obtaining free 6no low cost legal asslslanoe Is also availab1e on
            the Callfomla courts website al www.cofl!1ln(o.!i8.qovtslllQJeJpAow9Qsr,




            'SDie;; (;:IV.no (Ra'I 12-101          ALTERNATIVE CISPUTE RESOLUTION (AOR) INFORMATION                                  ~:z


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          Case 3:12-cv-02317-W-WVG Document 1-1 Filed 09/24/12 PageID.20 Page 16 of 19



                                                                                                                                                 1'011 COIIIITI1S4 ONl.Y
                 SUPERlOl1 COURT OF CALIFORNIA. COUNTY OF SAN DIEGO
                e'll'lftT /\DORIA          ~30 Weill Broadw;)y
                MAlUHOAOO. . . .           330 Welt Broadway
                C:1TY.n/llc. 62IPCOOE::    SBn Ol'go, CA 92101-:1821
                IWiHCM HANI:               C:anltal

                PLAINTIFF(S):         carol Brennan

                OefENDAHTIS}: Bank of Amorica elal.

                SHORT rlTLS:          BRENNAN VS. BANK OF AMERICA.

                                            STIPUlATION TO USE ALTERNATIVE                                                         CASe NUMBER:
                                               DISPUTE RESOLUTION (ADR)                                                             31·2012-00102619-CU·PO,CTL

                .JuGIge: Randa Trapp                                                                                   Oepartment: C-70

                The parties and their attomay. allDulllte thaI the- matter is at IS5ue and the claim. In tnl, action sholl bo ~Ilbmltt.d to tho following
                slternatlve dl&pute resolution (ADR) procell, Selecllon of any of Ihese options will not delay any case management tlm.,i".,.
                    o      Mediastlon (C:OIoltf...cvnnectec:l)                           0    Non-blndlng privllia aftlllnlUCn

                    o     MedleUCn (JIr1vale)                                            0    Binding prillato arbltroUon

                    o     VoIunliry letdement conforllnca (Drlvetl)                      0    Non-binding Judlclallltbilralion {d1fC011t1')' unll!15 day. before trllIl}

                    o     Nounl lvaluaUon (prlvl1te)                                     0    NoMIlndlng judicial arbitration {dlllOOYery IoIn\ll3O days Mfcra IriGl,
                    o     Olher {SpeCIfY     t.;., prlvDte mlnl-trl8l, p/1llalo Judg., Itll.): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


. - . .-... IUnllo ItipUlotodlllat 1110 following "'aU Hf"t.... arbitrator, mediator ofOl/'1er "",InII: (Namo) . _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                AAemtlte neutral (for court CMI Madle.Uon Prognflm and arbllnlllSCIII only): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                 0118: _ _ _ _ _ _ _ _ _ _ _ _ _- - - -                                                       Oate: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                Namll 0' Plalntllf                                                                            Name of Derendant




                51gnalure                                                                                     Signature


                Name of PliInUfI'. Allomey                                                                    Name of Det'lIfIdanl', Attorney



                $Ignalln                                                                                      $IG lIIIture 

                If Iller. a... mate par1Ies Goellor IlUCimeya, plea•• altll:tl addlUol\II1 c:orIIlllatad and fuRy OltOCl/tad al\,ets. 

                nI. the cMv or the DIII1J" to nolll'y thl court or any Gettlement pursuant \0 Cal. RlJkI. of Court. Nle 3.1385.
                Ihe court will place !hIemaller\ll.lll~ar d1amlsNl C8l.ndar.
                                                                                                                                          Upon nouncatlQn
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                                                                                                                                                            or \h. 1ettlemenl. 

                NO nHl partlr.l may be added wllhoulleavlI of court. 

                IT IS 80 ORDERED. 

                                                                                                                               JUDGE OF THI!! SUPERIOR COURT
                DaleO: O&'2Ol2Ch 2 '
              IQIIC erNSt ",.. 12>0101                                                                                                                                        '_11
                                                      STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION

                                                                                                                                                                                   3
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             8l...9'd                      9l£009a6l9l:01                                199B18L619          ~ ONOWA~ 301~ ~l:WO~                             Ga:L9 aiBa-ia-9n~
Case 3:12-cv-02317-W-WVG Document 1-1 Filed 09/24/12 PageID.21 Page 17 of 19
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  SUPIRIOR COURT OF CAUFORNIA, COUNTt OF SAN DIEOO
  !lTlII!J!T ADORESIII   l!la _   ""'"-Y
  ~I\IXlIUSII:           :130 W.II BIOI_t
  em HID 1:P' COOl: Ian 0l0l00. CA 0210 I
  BIW«:H ICMII!:         c-tr1If
  TB..IlPl4OlC NUMIII!A: (II" q;c.10110

  PLAINTIFF(S) / PETITIONER(S):             Cal'OlSrennan
  DEFENDANT(S) I RESPONDENT(S}: Sank or America " •• 1.


   BRENNAN VS. BANK OF AMeRICA

                                  NOnCE OF CAse ASSIGNMENT
                                                                                    1   CASE NUMseR:
                                                                                        37-2012·00102619-CU·P()"cTL

  Judge: Randa TI'IPP                                                            Depal1ment 0..70
  COMPLAINT/PETmON FILeD; 08/2012012

                           ALL CASES MUST COMPLY WITH THE CIVIL REQUIREMENTS LISTED BELOW,
                                                eXCEPT FOR PARKING CITATION APPEALS

  IT IS THE DUTY OF EACH PLAINTIFF (AND CROSS-COMPLAINANT) TO SERve A. COpy OF THIS NOTICE WITH
  THE COMPLAINT (AND CROSS-COMPLAINT). THE Al.TERNATIVE DISPUTE RESOLUTION (AOR) INFORMATION
  FORM (SDSe FORM #CIV~730), A STIPULATION TO USE ALTeRNATIVE DISPUTE RESOLUTION (ADR) (SDSe
  FORM #CIV-359), AND OTHER OOCUPY,1ENTS AS SET OUT IN SOSC LOCAL RULE 2.1,5.

  ALL COUNSEL WILL BE EXPECTED TO BE FAMILIAR WITH SUPERIOR COURT RULES WHlCH HAVE BeeN
  PUBLISHED AS DIVISION II, AND WILL BE STRICTLY ENFORCED.

  "1"1 Me-ST-ANOAROS:-The-followlnSl-U meframes-epply.to·geAer.al.clvll.cases.ar:KI.mustbe.adher.edJo.uoless,y.o.u.baY..e
            requested and been granted an extension of lime. General c:lvll eases consist of all civil cases except: small
            claims proceeding" civil petitions, unlawful detainer proceedings, probate. guardianship, conservatorship
            juvenile, and family law proceedings.                                                                     '

  COMPLAINTS: Complaints Bnd all other documents listed In SOSC Local Rule 2.1.5 must be served on ell nal'Md 

       defendants. end a Certlfleate of Service (SOSC form #CIV·345) filed Within 60 days of filing. 


  DEFENDANT'S APPEARANCE: Defendant must generally appear Within 30 days of service of the compl,'nt. (PlaIntiff
       may stipulate to no more than 15 day extension which must be In writing and flied with the Court.) (SOSC Local
       Rule 2.1.6)

  OEFAULr: If,the defendant has not generally appeared end no extension has been granted, the plaintiff must request
       default within 45 days of the filing of the Certificale of Service. (SOSC Local Rule 2.1.7)

  CASE MANAGEMENT CONFERENCE: A Case Management Conference will be set Within 150 days of flllng the 

        cDmplalnt.,   .


  ALTERNATIVE'DISPUTE RESOLUTION (ADR): THE COURT ENCOURAGeS YOU TO CONSIOER UTILIZING 

  VARIOUS ALTERNATIVES TO TRIAL. INCLUDING MEDIATION ANO ARBITRATION. PRIOR TO THE CASE 

  MANAGEMENT CONFeRENCE. PARTIES MAY FILE THe ATTACHED STIPULATION TO USE ALTERNATIVE 

  DISPUTE RESOLUTION (SDSe FORM #CIV-359).

  YOU MAY ALSO ae ORDERED TO PARTICIPATE IN ARBITRATION. IF THE CASE IS ORDERED TO ARBITRATION
  PURSUANT TO CODE CIV. PRoe. 1411.11. THE COSTS OF ARBITRATION WILl.. BE PAID BY THE COURT
                                 4
  PURSUANT TO CODE CIV.,PROC.114 1.28.                                                '
: . FOR MORE INFORMATION. SEE THE ATTACHED ALTERNATIVE DISPUTE RESOL.UTION (AOR) INFORMATION
 . FORM (SOSC FOR~ #CIV:7301 .
                                                                                                                                PtI\Ir.1
  SDSC CIV-7j, (R.v. 11-08)
                                                        NOTICe OF CASE ASSIGNMENT


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Case 3:12-cv-02317-W-WVG Document 1-1 Filed 09/24/12 PageID.22 Page 18 of 19
                                                                                                   .~




                                Superior Court of California 

                                   County of San Diego 



                             NOTICE OF ASSIGNMENT
                            TO IMAGING DEPARTMJ~NT

         This case has beon assllned to aD lmagJng Department ond original documents attached to
  ploadings filed with the court wlJ~' be imaged and destroyed. Original do~umclits should not be
  flIed with pleadings. It necessary, they should be lodged with the court under Califutola Rules of
  Court, rule 3.1302(b).
          On August] • 2011 the San Diego Superior Court began the Electronic Filing and Imaging Pilot
  Program ("Program"), As of August IJ 20 J 1 in aU new cases assigned to an Imaging Department all
  ftlings will be imaged electronically and the electronic version of the document will be the official
  court file. The official court file will be electronic and accessible at one of the lciosks located in the
  Civil Business Office and on the Internet through the court's website. This Program will be expanding
  to other civil courtrooms over time .
                                     ....   ",~   .. ,,_ 9· .... _ _ _ _ _ _ • • _   .,_      ,.                        '""




        You should be aware that the electronic copy of the filed dOCUlnent(s) will be the official coun .
 record pursuant to Government Code section 68150. The paper filing will be imaged and held for
 90 days. After that time it will be destroyed and recycled. Thus, you should not attach any
 original documents to pleadIngs flIed with the San Dieeo Superior Court. Orielnal documents
  filed with the court will be Imaged nnd destroyed except those documents specU1ec:J in
  CoDfornla Rules of Court, rule 3.1806. Any original documents necessary for a motion hearing or
  trial shall be lodged in advance of the hearing pursuant to California R.~es·of Court, rule 3.1302(b),
        It is the duty of each plaintiff, c::ross..complainant or petitioner to serve a copy of this notice with
  the comphtint, cIos~-wmplllint or petition on all parties in the actioll.

        On all pleadings filed after the initial case originating filing, all parties must, to the extent it is
 feasible to do so, place the words "IMAGED FILE" in all caps immediately under the title oCthe
 pleading on all subsequent pleadings filed in the action.

  Please refer to the General Order - Imaging located on the
  Sa·n Diego Superior Court website at:

  http~lIwww.sdcourt.ca.gov/ClvillmagingGen~raIOrder.



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Case 3:12-cv-02317-W-WVG Document 1-1 Filed 09/24/12 PageID.23 Page 19 of 19



                                     PROOF OF SERVICE
 1
 21 STATE OF CALIFORNIA
 3 u COUNTY OF LOS ANGELES
                                     l      ss


          I am employed in the Coun~ of Los Angeles, State of California. I am over the
 41 age of 18 and not a p~ to the within action. My business address is 355 South Grand
 5 I Avenue, Suite 2900, Los Angeles, California 90071.
            I am readity' familiar with the finn's business practice of collection and processing
 6 I correspondence for mailing with the U.S. Postal Service. Under said practice,
     correspondence is depositea with the U.S. Postal Service in the ordinary course of
 7 I business on that same day with postage thereon fully' 'prepaid. I am aware that on
   R motion of the p~ served, servIce is presumed invalId if the postal cancellation date or
 8 a p'ostage .meter date is more than one day after the date of deposit for mailing in this
 9 . oec1arabon.
           On September 24 2012, I served the foregoing document described as: NOTICE
10 li OF REMOVAL OF C j VIL ACTION UNDER 28~U.S.C. § 1441(b) AND (e) by
11 I having placed a true copy thereof in a sealed envelope addressed as follows:
          Raymond M. Vecchio, Esq.
12        3340 Del Sol Boulevard, #181 

          San Diego, California 92154 

13        Telephone: (619) 298-6270 

          FaCSImile: (619) 781-8661 

14
          Thomas Quinn, Esq.
15        Nokes & Quinn
          410 Broadway, Suite 200
16        Laguna Beach, California 92651 

          Terephone: (949) 376-3500 

17        FacsImile: (408 376-3070 

          Email: TUlnnokesuinn.com 

18
   I dep'osited such envelope with postage thereon prepaid with the United States Postal
19 Service at 355 South Grand Avenue, Suite 2900, Los Angeles, California.
20          I am employed in the office of a member of the bar at whose direction service
      was effected.
21 II       Executed on September 24,2012, at Los Angeles, California.
22
23 II Charles Koster
24 Type or Print Narne
     II
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